

Khalid Mario B. v Rosa Yau Chi Wai B. (2021 NY Slip Op 00258)





Khalid Mario B. v Rosa Yau Chi Wai B.


2021 NY Slip Op 00258


Decided on January 19, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 19, 2021

Before: Webber, J.P., Mazzarelli, González, Scarpulla, Shulman, JJ. 


Docket No. 307079/12 Appeal No. 12902N Case No. 2018-5656 

[*1]Khalid Mario B., Plaintiff-Respondent,
vRosa Yau Chi Wai B., Defendant-Appellant.


Richard L. Herzfeld, P.C., New York (Richard L. Herzfeld of counsel), for appellant.



Appeal from order, Supreme Court, New York County (Lori S. Sattler, J.), entered April 5, 2018, which granted the receiver's motion to compel defendant to vacate the former marital residence, unanimously dismissed, without costs.
Having been entered upon defendant's default, the order may not be directly appealed (see Campbell v Records Access Officer of N.Y. City Police Dept. , 221 AD2d 201 [1st Dept 1995]).
Application by defendant's assigned counsel to withdraw is granted (see Anders v California , 386 US 738 [1967]; People v Saunders , 52 AD2d 833 [1st Dept 1976]). The record demonstrates that there are no nonfrivolous issues that could have been raised on appeal in any event. We agree with counsel that defendant's unrefuted and continuing refusal to cooperate in, and her obstruction of, the ordered sale of the marital residence and the distribution of the proceeds warranted the order to compel her to vacate the premises (see Muller v Muller , 233 AD2d 486, 487 [2d Dept 1991]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 19, 2021








